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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                     :
In Re WEATHERFORD INTERNATIONAL      :          11 Civ. 1646 (DLC)
SECURITIES LITIGATION                :
                                     :            OPINION & ORDER
------------------------------------ X

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DENISE COTE, District Judge:

     At a conference on June 24, 2011, the American Federation

of Musicians and Employers’ Pension Fund (“AFME”) was selected

as Lead Plaintiff to represent a proposed shareholder class

suing Weatherford International Limited (“Weatherford”).          Two

competing applicants for lead plaintiff promptly filed motions

for reconsideration.    Neither motion points to any matter

overlooked by the Court or to any issue that was not available

to be addressed at the June 24 conference.       These highly unusual

motions by disgruntled applicants for lead plaintiff appointment

are denied.



BACKGROUND

     On March 9, 2011, plaintiff Mike Dobina filed a class

action lawsuit on behalf of all purchasers of securities between

April 25, 2007, and March 1, 2011, inclusive (the “Class

Period”).    The Class Period was defined by the announcement made

by Weatherford on March 2, 2011.        The complaint alleges



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violations of §§ 10(b) and 20(a) of the Securities Exchange Act

of 1934, 15 U.S.C. § 78a et seq.        As required by § 78u-

4(a)(3)(A) of the Private Securities Litigation Reform Act, on

March 10, Dobina’s attorneys published notice of the pendency of

the action.   By Order dated March 16, the Court set a schedule

for the briefing of the applications for appointment of a lead

plaintiff and set a conference for June 24.        On May 9, two

applicants in addition to AFME sought appointment as lead

plaintiff: a group composed of Fulton County Employees’

Retirement System, City of Grand Rapids General Retirement

System, City of Grand Rapids Police & Fire Retirement System and

the Fort Worth Employees’ Retirement Fund (collectively, the

“Public Retirement Systems”); and the Pension Trust Fund for

Operating Engineers (the “Operating Engineers”).

     At the June 24 Conference, AFME was selected to serve as

lead plaintiff.   AFME sustained the “largest loss” from its

trading during the Class Period and had “some” retained shares

at the end of the Class Period.      During the extended discussion

at the June 24 Conference of the issues raised by the

applicants’ submissions, the Court pointed out both that for

almost a two year period ending in the Fall of 2010

Weatherford’s stock traded below the point to which it fell

after the March 2, 2011 announcement, and that this fact

complicated a loss calculation premised on the last-in-first-out


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or LIFO method, which was the method that each of the parties

had used in calculating their losses.

     AFME’s appointment was formalized in an Order of June 27

(the “June 27 Order”).    On June 27 and June 28, the Public

Retirement Systems and the Operating Engineers’ respectively

filed motions for reconsideration of the June 27 Order.          These

motions became fully submitted on July 5.



DISCUSSION

     The standard for reconsideration is strict.         “Generally,

motions for reconsideration are not granted unless the moving

party can point to controlling decisions or data that the court

overlooked -- matters, in other words, that might reasonably be

expected to alter the conclusion reached by the court.”          In re

BDC 56 LLC, 330 F.3d 111, 123 (2d Cir. 2003) (citation omitted).

“[A] motion to reconsider should not be granted where the moving

party seeks solely to relitigate an issue already decided.”

Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995).

Likewise, a party moving for reconsideration may not “advance

new facts, issues, or arguments not previously presented to the

Court.”   Nat’l Union Fire Ins. Co. of Pittsburgh v. Stroh Cos.,

Inc., 265 F.3d 97, 115 (2d Cir. 2001) (citation omitted).          The

decision to grant or deny the motion for reconsideration is




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within “the sound discretion of the district court.”         Aczel v.

Labonia, 584 F.3d 52, 61 (2d Cir. 2009) (citation omitted).

     The Public Retirement Systems and the Operating Engineers

(the “Movants”) principally argue that at the June 24 Conference

AFME misled the Court by stating that it “retained” 33,400

shares at the end of the Class Period when, using the LIFO

accounting method, none of the shares AFME held on March 1, 2011

were purchased during the class period.       This argument is

rejected for several reasons.

     First and foremost, these motions for reconsideration do

not present any issues that were unavailable for the parties to

discuss at the June 24 Conference or that were overlooked by the

Court.   The parties having made extensive arguments before and

during the June 24 Conference, and the Court having explained in

detail its reasons for selecting AFME, the Movants have utterly

failed to meet the burden that pertains to motions for

reconsideration.

     Moreover, the factual premise underlying the motions for

reconsideration is flawed.     Regardless of whether the first-in-

first-out (“FIFO”) or the LIFO method is employed, at the end of

the Class Period, AFME retained shares that were purchased

during the period.

     As significantly, the Movants mistakenly assume that LIFO

is the only appropriate standard for calculating the number of


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shares AFME held at the end of the class period.         While LIFO may

often be the most appropriate method for calculating loss,

selecting the accounting method which will be most advantageous

to a class is a context-specific determination.        As the Court

observed at the June 24 Conference, because of the stock price

movements toward the end of the Class Period, LIFO may not be

the most suitable measurement method in this case.         In fact, the

Court noted that “it may be hard to prove out-of-pocket losses

for purchases” made during roughly a two-year period near the

end of the Class Period.

     Finally, using the measure that each of the applicants for

lead plaintiff stressed in their motions for appointment -– a

loss calculation premised upon trading during the Class Period -

– it is undisputed that AFME is the single entity with the

largest such loss.   The Court appointed AFME as Lead Plaintiff

based on an examination of the strengths and weaknesses of each

of the applicants for the appointment, and a nuanced assessment

of which applicant would be best able to represent the proposed

class.   The motions for reconsideration present no occasion for

reconsidering the merits of that judgment.

     The Public Retirement Systems make a second argument for

their appointment as lead plaintiff.      They contend AFME will be

unable to represent the class at an upcoming hearing before the

Judicial Panel on Multi-District Litigation (the “MDL Panel”) on


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July 28, 2011 since AFME has not yet filed papers before the MDL

Panel. 1        , this is not an argument properly              ed

through a motion for recons            ion.   This issue was presented

at and addressed at the June 24 Conference.         In any event, it is

unnecessary to engage with the            ies' debate over the MDL

Panel procedures.    Prior to fil         this motion for

recons            , the Public Ret            Systems itself predicted

that the MDL proceedings would become moot once a 1               aintiff

was chosen.          on the parties' submissions in connection

with this motion for reconsideration this prediction seems even

more likely to prove true.



CONCLUSION

      The June 27 and 28   1   2011 motions      reconsideration of the

June 27, 2011          are denied.

      SO ORDERED:

Dated:       New     , New York
             July 6, 2011



                                                 COTE
                                                 District Judge



1 The MDL Panel is           to consider         the above-
captioned case should    consolidated with a related securities
fraud class action         the same defendants, Kanchanapoom v.
Weatherford, et al., 11 Civ. 01895-JFW (PJWx) (C.D. CaL).   It
appears, however,      the California action   11 be voluntarily
  smissed before July 28, 2011.

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